

Matter of Attorneys in Violation of Judiciary Law § 468-a (Fang Liu) (2022 NY Slip Op 02482)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Fang Liu)


2022 NY Slip Op 02482


Decided on April 14, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 14, 2022

PM-81-22
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Fang Liu, Respondent. (Attorney Registration No. 5245626.)

Calendar Date:April 4, 2022

Before:Egan Jr., J.P., Lynch, Aarons, Colangelo and Fisher, JJ.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Fang Liu, Beijing, China, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1080 [2021]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).[FN1]
Upon reading respondent's notice of motion and affidavit with exhibits sworn to February 9, 2022, and the March 21, 2022 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Cajiao], 200 AD3d 1292, 1292 [2021]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effectively immediately.
Egan Jr., J.P., Lynch, Aarons, Colangelo and Fisher, JJ., concur.



Footnotes

Footnote 1:	 We remind all New York-licensed attorneys that the New York State Bar Association is a voluntary membership organization with no formal regulatory authority over attorneys admitted to practice in New York State. Accordingly, the payment of annual membership dues to the Association has no bearing on a New York attorney's statutory obligation to register with the Office of Court Administration on a biennial basis (see Judiciary Law § 468-a; see also Rules of Chief Admin of Cts [22 NYCRR] § 118.1).






